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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


Mehrangiz Kar and Azadeh Pourzand,
                                Plaintiffs,
                       v.
The Islamic Republic of Iran et al.;
                                                  Case Number: 1:19-cv-02070-JDB
                              Defendants.




                        DECLARATION OF AZADEH POURZAND


COMES NOW Azadeh Pourzand and states as follows:

      1.      I was born in Tehran, Iran on January 8, 1985.
      2.      I am a citizen of the United States.
      3.      I am the daughter of Siamak Pourzand and Mehrangiz Kar.
      4.     I was 17 years old when my father was arrested and detained by the Iranian
      government in 2001. For the next ten years, my father suffered torture as he was detained
      and later held under house arrest until his death in 2011. During his years of detention
      and even after his death, my family and I have been deeply traumatized by his harrowing
      experience. Due to my father’s torturous treatment by the Iranian government, I have
      devoted my life to helping my father both when he was alive and after his death through
      the promotion of human rights in Iran as his legacy.
      5.     I am the Co-founder and Executive Director of the Siamak Pourzand Foundation,
      dedicated to the promotion of freedom of expression. I am currently pursuing my PhD at
      the SOAS University of London's Global Media and Communications department. I am a
      graduate of the Harvard Kennedy School of Government with a Master’s in Public Policy
      (MPP), a graduate of Nyenrode Universiteit with a Master’s in Business Administration
      (MBA) focused on entrepreneurship, and a graduate of Oberlin College with an honors
      Bachelor's degree in Comparative Literature.
      6.    As a human rights advocate and a researcher, I have spent the past decade
      working at a number of prominent international organizations focusing on Iran, the



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Middle East and South Asia. My focus in research and writing is on human rights in Iran,
with an emphasis on freedom of expression, rule of law, minority rights, and women's
empowerment. I served as the editor-in-chief of the Harvard Kennedy School’s Women's
Policy Journal, and I am currently a member of the Oslo Women's Rights Initiative by
way of which I was selected as a featured speaker at the Nobel Peace Center in Oslo,
Norway in 2018. As a selected member of BMW Foundation’s Responsible Leaders
Network, I have participated in numerous panels and presented on topics related to
human rights in Iran held in places like Capitol Hill and by institutions such as Amnesty
International, Chatham House, the Middle East Institute and Front Line Defenders.
7.      When I was born in 1985, my father was a stay-at-home dad and he essentially
raised me. Being a stay-at-home dad was not a choice for him but an imposition due to
the repressive methods of the Islamic Republic. A previously well-known journalist
during the Pahlavi era, my father had to live in fear of being arrested and executed in the
aftermath of the Islamic Revolution of 1979. He had the choice to flee the country, like
many other intellectuals of his time whose beliefs were not in line with those of the
Islamic Republic’s. Nevertheless, as the patriotic and visionary person that he was, he
chose to stay in Iran together with my mother—herself a human rights lawyer and a
writer—and to work both separately and together towards the promotion of human rights
against all odds. By the time I was born, my father was not allowed to work or to have a
social presence because he was a formerly prominent, secular and anti-revolutionary
journalist. My mother had become the breadwinner of the family, while my father had
made himself busy raising me and looking after my older sister, Lily.
8.      He was not a typical father, if there is any such thing as a typical father. He was a
friend, a real one. I don’t recall him ever talking with me like a child. He always had
“equal” conversations with me, would try to engage me intellectually and tell me about
world affairs and different stories from the past and the rest of the world. Being exposed
to all the stories of the past and the world was rare for Iran in the 1980s, given the
country’s isolation and the ongoing war with Iraq which was quite bloody and terrifying.
He used to make audio recordings of his conversations with me about world affairs,
asking the very young child that I was serious questions in a talk show style, taking my
often-simplistic answers seriously, and asking follow-up questions. Sadly, all that, along
with other tokens of memory, are gone as the Islamic Revolutionary Guard Corps (IRGC)
or other security forces of the Islamic Republic took all that with them after they
kidnapped him in 2001.
9.      My father taught me how to read and write better than my schoolteachers did. He
would take me to all my extracurricular classes every week such as piano, English, and
swimming. He would often visit my school and would bring sweets for my teachers,
trying to offer the school personnel a hand with their work in little ways that he could. He
was fun to be around and knew how to intellectually engage children while also being
their pal. To this day, my childhood friends cry when his name comes up. A couple of
them even risked their freedom to try to go to his funeral in Tehran in 2011.



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10.     I had become his reason to live; raising me was his purpose in life. He would live
life vicariously through me and my journey of growing up. He would spend hours telling
me about his childhood, his youth, showing me news clips of his successes before the
revolution as a correspondent for places like Hollywood and the White House.
11.     My father went to prison twice when I was very young; once, when I was around
two years old and again when I was around six years old. I don’t recall the first time he
was imprisoned, but I have been told by our family friends that his absence made me
sick. Apparently, I stopped interacting with the world around me for days, stunned. I had
a very high fever that wouldn’t come down. When he came back from prison where he
had been kept in solitary confinement, apparently I didn’t recognize him and I was scared
of him. It took him a while to re-introduce himself to me. I recall the second time. It was
painful not to have him around. I also recall my mother’s anxiety and her efforts to try
and get him out of prison, while hiding her fears of him being executed or kept for a long
time from me and my sister. I remember how scared I felt without him tucking me in bed
at night.
12.     As I became a teenager, my father regained some social presence. With the
emergence of the reform movement in the late ‘90s in Iran, he managed to get back to
journalism in an advisory capacity for some of the reformist newspapers and
publications. He was determined to use any small opening, amid all the risks, to promote
contemporary arts and culture. He would facilitate appreciation ceremonies for the older
generation of artists and intellectuals who, like him, had lived in fear for so long, while
also carving out spaces for the younger generations to showcase their work and receive
acknowledgement in the still limiting and hostile environment of Iran. Thanks to him,
even though I had to leave Iran early on in life, I took with me a uniquely rich and deep
understanding of Iranian heritage, art, literature, culture, history and politics, far beyond
what a 16-year-old in an ordinary setting would have gained.
13.     On the nights when he would come home after my bedtime and after I had lost the
fight against sleep to watch him come home and give me a hug, I would write my father a
letter and slip it under the door of his bedroom. No matter how late, he would
immediately answer my letter upon returning home, slipping it under my bedroom’s door.
Waking up in the middle of the night to see if he had returned home, I would read them
with excitement.
14.      In 2000, when my mother was arrested for being an active member of reformist
elites and for her participation in a Conference in Berlin, Germany, my father and I were
left alone. My sister Lily had already left the country and emigrated to Canada. During
those couple of months in my mother’s absence, my father and I became more than just
best friends. We were each other’s companion. Some days I would have breakdowns, and
some days he would. We would strategize and sometimes argue over the best approach to
advocate for my mother’s release. We went to the Islamic Revolutionary Court together
to visit her a couple of times. Those were difficult days. During that time, I realized the
depth of his love for my mother. He would walk around the city with a photo of my mom


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pinned to his coat. Crying non-stop, he would frequently talk about my mother to
different diaspora and to in-country media about her and his worry for her conditions. I
don’t recall him having properly slept during those months.
15.     In 2001, my mother was granted leave from prison, due to international pressure
on Iran. After my mother left the prison, diagnosed with an advanced breast cancer, she
completed the main part of her cancer treatment and decided to bring me to the United
States. She was stressed about my safety in Iran, as the judge had threatened to hurt me
should she continue her activism.
16.     I will never forget that last night at the airport. I cried nonstop, and so did my
father. He was going to stay in Iran. My mom was going to take me to Europe and then to
the United States, spend some time to help me settle down and start my life, and then
return. I didn’t want to leave. I certainly didn’t want to leave without my father, my best
friend. But he was determined to stay and continue his work. He promised me that I was
going to return in a few months to visit and that he would be waiting for me at the airport
when I returned.
17.     When I arrived in the United States in the fall of 2001 and began school, my
father and I would still talk all the time. I was happy to have a mobile phone because it
would allow me to talk to my dad using a phone card at the time. Despite the time
difference, he would still call me every morning to wake me up for school. He would
then stay on the phone with me when I was waiting for the school bus on the street. I
would tell him about my new adventures at my American public high school every single
day after school. Sadly, our long-distance exchanges did not last long. Mere weeks after I
began school in the U.S., he was kidnapped from the streets of Tehran and disappeared
for some time, during which he was detained by the regime and kept under some of the
most inhumane conditions. My father’s detention had different phases throughout the
years. The laws of the Islamic Republic do not have any respect for human rights and
human dignity, but nevertheless even in the context of those discriminatory laws the
kidnapping of my father was still unlawful. Even according to their own flawed laws in
the Islamic Republic, his kidnapping and incommunicado detention—during which we
had no idea where he was or whether he was even alive—was a violation of Iranian law
as well as international human rights standards.
18.     I recall that days before he was kidnapped, he told me and my mom on the phone
that he felt he was being followed by a motorcyclist. With the ongoing surveillance of the
Islamic Republic’s intelligence services, the hardline parallel intelligence offices related
to the IRGC and the office of the Supreme Leader, we were used to being followed when
in Iran. A few years before this time, a few prominent secular intellectuals we knew well
as friends were brutally killed in what became known as the “chain murdering of
intellectuals”. Meanwhile, both my parents’ names would appear in the blacklists faxed
around during those years—the list of those people the government wanted dead. But still
somehow both my mom and I did not take this seriously. We were wrong!




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       19.    In Fall 2001, a few weeks into school, I returned home to find my mom in such
       agony. I had never seen her this way before.
       “Your dad is kidnapped!”, she informed me.
       The word “kidnapped” was a new word to me, even in my rich vocabulary of various
forms of arrests and torture resulting from years of what I had witnessed in Iran.
       “Kidnapped? What do you mean? You are joking, right? Maybe he is with friends and his
phone is not working,” I said to my mom.
       “No, my dear. Your dad is in a dangerous situation. We have to help save him,” she said.
       It is all a blur now. It was nearly 20 years ago, and the shock was so traumatizing that I
have difficulty remembering this moment without tears and agony, even today.
       20.      During his detention, my father was kept in something that resembled a horribly
       dirty toilet, a hole in the ground, in the basement of an unverified place, possibly near or
       at the airport in Tehran as he could hear the disturbingly loud sound of airplanes nearby
       all the time. In this place, he was forced to use the bathroom where he would also have to
       eat. He would also have to sleep in a curled-up position or while sitting on the floor,
       given the tiny size of this toilet. He was deprived of the opportunity to wash himself or
       take a shower for weeks or even months at a time. Once apparently when they let him use
       the shower, they told him that he could also shave and get rid of his facial and bodily hair
       and clean up. However, little did he know that this was also yet another form of torture.
       They gave him a strong locally known cream for hair removal used in prisons in Iran, and
       he put it all over himself. This hair removal cream must be removed within a few
       minutes, or else it causes serious burns on the skin. When after a few minutes he wanted
       to wash the cream from his body and intimate parts, they shut off the tap water on him,
       letting his skin and intimate parts burn, all while he was apparently screaming and
       begging them to let him wash it off.
       21.     My father was denied the right to his own representation, and tortured into giving
       in to Iran’s lies about him. We tried to have an attorney of our choosing represent him,
       but instead he was forced to accept a court-appointed lawyer who I believe was also one
       of his interrogators and possibly torturers. In 2002, my father was pressured into a forced
       televised confession, in which he was forced to denounce his family, friends and
       colleagues, and himself too, of course, for allegedly having committed falsified crimes.
       During this televised propaganda show, we could tell that he had lost an unbelievable
       amount of weight, looking sickly and fragile.
       22.     Later on, when he was in the public ward of Evin Prison, my father also
       underwent further physical and mental forms of torture. One that stands out most for me
       is the denial of adequate medical care, given both his old age and the many forms of
       torture that he had already undergone. He was also beaten by his interrogators and had his
       teeth broken, not to mention the verbal assaults and humiliations they inflicted upon him.
       He was forced to stand up for hours, waiting indefinitely for his interrogation sessions to
       begin. Once, my mom had mentioned in an interview that as the old man that he was, he


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was deprived from any kind of nutritious food in custody, not even a piece of fruit a day.
In response, the authorities forced my dad to eat dozens and dozens of cucumbers as the
only food provided to him, punishing him for what my mom had told the international
media. As a result, he had a severe case of diarrhea that they refused to treat.
23.       At some point in November of 2002, my father was “let go” for a few weeks
without any paperwork, during which time he stayed my aunt’s house in Tehran. During
this time, we could contact him via phone, but he was so disturbed as a result of being
tortured that it was impossible to communicate with him. As I understand from my aunt,
because he was forced to go to the toilet where he had been kept in a tiny space, he was
scared of the bathroom and would refuse to use it. He was similarly scared of using the
shower or even eating food because of the torture he recalled. He was impossible to
communicate with most of the time as he would start panicking, screaming, crying, or
wanting to call his interrogator as he was scared that they would come and take him. But
still, I recall a few difficult phone calls with him.
24.     Later in March of 2003, when he was taken back and kept in the public ward of
Evin Prison, I began to write him letters once in a while. The letters were mostly about
the ordinary things in my life at school and in my new life as an immigrant and nothing
beyond, given that I knew the text would be closely examined before reaching him. I am
not sure whether the authorities ever handed him the letters.
25.     In 2004, under pressure from international human right organizations and western
governments, my father was removed to the hospital in critical condition. Afterwards, he
was put under a form of house arrest, during which time we were able to speak with him
more regularly on the phone. My family and I had many long phone conversations with
him during this time. This was our way of keeping him engaged during his isolation so
that he felt a bit less lonely and scared. I lost many friends and even sometimes
relationships because people my age didn’t understand why I was always, literally
always, on the phone at odd hours with my dad and also with my mom, who was
miserable and really worried for him. She was living alone in Maryland and Boston,
working hard to provide for all of us without knowing much English and suffering from
various illnesses of her own.
26.     While under house arrest, the authorities and various representatives of the
security apparatus of the Islamic Republic continued to harass my dad, threaten him,
make him feel unsafe, and psychologically torture him. Even though my father had some
limited “freedom” to meet with some of his friends or go to a limited number of places
once in a while, he was essentially kept in isolation, and we believe that even the
housekeeper of his apartment building was an undercover informant of the intelligence
service who contributed to his surveillance and psychological torment. He would receive
frequent calls from his torturer at random times of the day or night, sometimes couched
as a “friendly” gesture and other times less subtle and assertively threatening. Similarly,
he would receive unannounced visits from his torturers and interrogator, leaving him




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frightened every time. All of my father’s phone calls were tapped and even his
conversations with his loved ones (like me) were closely monitored.
27.     Even so, my father and I would speak on the phone for hours, no matter where I
was in the world. For instance, when I spent a semester abroad in Argentina in 2006, he
had found an affordable way to call me on my phone. I would walk the streets of Buenos
Aires and describe the streets and the city for him. He had bought himself a map of
Buenos Aires so that he could follow me in the city. He knew a lot about the history of
South America, and since my research there was on the torture of political prisoners of
the Dirty Wars of the 1970s and the memoirs and fiction written on the topic, he and I
would speak for hours about various South American intellectuals and the history of the
country, etc. It was as though he was with me in Buenos Aires, while under house arrest.
My friends would make fun of me for being on the phone while others were partying and
enjoying the nightlife of Buenos Aires. My host family was worried for me, as well. But I
was content with my “unique” life, even if it meant being on the phone with my lonely
and old father regularly, while also regularly on the phone to check on my mother who
was always stressed those days and to help her with daily matters that required English
proficiency. But I was content with my “unique” life, even if it meant being on the phone
with my lonely and old father regularly, while also regularly on the phone to check on my
mother who was always stressed those days and to help her with daily matters that
required English proficiency.
28.      My mother and I could not be there to keep my father company. If we were to
return to Iran we could have been arrested, as I nearly was when I went to visit him for
ten days in 2005. Most of his friends and even close relatives were scared to interact with
him, given the surveillance of the intelligence services. The authorities had harassed and
threatened many of his friends and relatives in Iran to gain more information about him,
which had resulted in many of them avoiding him for their own safety. As a result, he was
essentially left alone to die for years. We would try hard to keep him company via phone,
but in the last years of his life it had become harder and harder to engage him. We were
also fatigued by the situation, as he was.
29.     In January 2005, when I turned 19, I traveled to Iran to see my father. It was an
incredibly terrifying trip, one for which I risked my freedom and life. Many people, even
my own family members, thought I was insane to make this trip, but I felt an urge to take
all the risks involved and go and see my father whom I loved so very much. My mom
helped me to make this very difficult decision to go to Iran, which despite our best efforts
came with no guarantees for my safety from even the so-called “moderate” factions of the
Islamic Republic. We kept this plan from both my sister Lily and my father. We only told
my father after I arrived in Tehran. To my surprise, he was actually quite angry that I
came to see him. He was terrified rather than happy when he found out about my arrival
in Tehran. He was certain they would kill me, or at the very least detain me for affiliation
with him and my mom and essentially ruin my life.




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30.      My trip to Iran was terrifying, to say the least. During the ten days that I was
there, I was repeatedly taken for “question and answer” interrogations by the authorities,
asking me to spy on my sister and my mother upon return, and to convince them both to
return to Iran. I was also threatened that if I spoke about my trip in any negative terms, I
would never see my father again. I actually did not talk about my trip to the media much,
despite my mom’s request for me to do so, because I truly was scared that they would kill
my father if I did. At the same time, I refused to say positive things about my trip to the
press, as it would have all been a lie. They wanted me to go and tell dissident media that
we as a family lied about my father’s condition and that I had now seen for myself that he
was doing well. He was not doing well. He suffered from some sort of a legitimate
paranoia, as the authorities would make surprise visits and calls at any time of day and
night during his house arrest. He was scared of his neighbors as potential spies. He would
lock the door multiple times and would often refuse to even step out in his building as he
was sure something bad was going to happen. He was ordered to call his interrogator and
inform him of even the smallest things, which he complied with out of fear. His phones
were all surveilled. His house was closely monitored by undercover agents. He was weak,
ill, lonely, and simply scared. Still, I am happy we could spend a few days together, even
if we were terrified. I will never forget that trip.
31.      When I first heard about my father’s death, I was in the Netherlands obtaining my
MBA. My sister Lily called me while crying uncontrollably and said, “Baba is gone.” I
was out with my boyfriend (now husband) celebrating the end of an exam week. While
sitting at a café, I lost control of my reaction and my husband really struggled to bring me
back home in that state of mind, crying and screaming. Even though at this point I still
did not know if this was suicide or murder or a natural death, it affected me greatly. For
the next couple of days my husband didn’t leave me alone, as I was almost fainting all the
time. I had some recordings of my father talking with me from a few years before that I
somehow had managed to retrieve in that state of mind, and I was listening to his voice
on repeat and crying. The university got involved and my thesis supervisor who is now
also a friend kept an eye on me for a while. My professors were informed about the
peculiarities of my father’s circumstances. Ultimately, my brother-in-law, Mehrdad,
arranged for me to join my mother and my sister who were by now together in Toronto
after the news of my father’s death. I flew in a terrible emotional state and joined my
family in Toronto. When I arrived, my mom and another friend greeted me at the airport.
I recall they immediately asked me whether I had internet on the flight, which I found to
be an odd question given our deep state of grief. I said “no”, sounding annoyed. Later
when we arrived at my sister’s home, my sister Lily took me to the room and hugged me
while crying. I said that I needed to take a shower as my face was burning with tears.
When in the shower, Lily quietly walked into the bathroom and said gently, “You know,
Baba freed himself. He killed himself, my dear.” I recall feeling numb under the water. I
said nothing. All I remember is that I made the water very hot and I could see the steam
making it hard to breathe. I had lost the ability to leave the shower and I could feel my
skin burning a bit. My sister stayed there and tried to get me out of the shower a few



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      times with no success. Eventually she managed, but I already had heat rashes on my skin,
      while I was still numb and shocked. I remember thinking, “This was all my fault. I killed
      him. I should have forced him to leave the country when I went to visit him all those
      many years ago. I should have stayed in Iran and not cared about my safety or academic
      or professional growth. This was all my fault. I killed him.” Apparently, my sister who
      had first come to know about this news had withheld from the media the fact that my
      father had not naturally died, making it a condition that this news would only be released
      once she gets the chance to tell me this in person. She did not want me to find out about
      this through the media.
      32.      We were told that on April 29, 2011, my father threw himself off his balcony. I
      had spoken with him the night before and, as always, we had talked about my studies, my
      life in school at the time, and world news, though never of Iran because we knew the
      calls were being surveilled. I recall he sounded sad and tired of loneliness, which was not
      unusual given his living conditions. He was naturally suffering from depression and
      many kinds of chronic aches due to the impact of the various forms of torture he had
      undergone as an old man. There may not be any evidence of how he truly died. Many ask
      us if it truly was a suicide or instead a murder plotted by the Islamic Republic. We will
      never find out. We don’t even have the right to go and investigate, or else we would also
      be arrested. Regardless, I consider his death as essentially a murder by the authorities
      even if it was truly a suicide; his suicide was caused by the many years of physical and
      mental torture they kept him under until his death.
      33.     From that day on, the dissident Persian media and some other English outlets kept
      on calling and interviewing my mom and my sister. I recall that a very popular program
      called Parazit from Voice of America (Persian) called and, even though it was mostly a
      political satire show, asked my mom to attend their show that week to talk about my
      father’s death. My mom, who was herself in a terrible emotional state, refused this
      interview and suggested strongly that they should interview me and my sister. I accepted
      the program’s invitation and appeared on the show together with my sister. However,
      during the program I cried uncontrollably. That episode became viral online, with lots of
      discussion having emerged about the grief caused by the Islamic Republic for a few
      decades for families like mine. I recall that given my fragile state while on air, my sister
      was holding my hand tightly so that I wouldn't fall from the chair in the studio. This was
      the moment when I felt exposed to a nation that I felt may judge me for what had
      happened, interrupted by tears and unable to articulate myself. I felt that I had to defend
      myself from a crime I now know I did not commit. The producer of the show still tells
      me that handling this episode was the hardest professional moment of his life.1
      34.    I was still in Toronto when friends and relatives in Iran finally managed to bury
      my father in Tehran under very strict and scary security control from the intelligence
      forces of the Islamic Republic. The authorities had only allowed that he would be


1 https://www.youtube.com/watch?v=rYAdU1fjv04



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remembered as “a good father”, and nothing else could be mentioned about his life or
work during the small and highly surveilled burial. Only a few people were allowed to be
there, and security officers had surrounded the cemetery during his funeral. One of our
family friends secretly kept her mobile phone on in her pocket; this was how we secretly
“attended” the funeral digitally. I remember my sister was sobbing in her husband’s arms.
My mom was crying and holding her head in her hands. I was stunned, quiet and tearless.
I had no idea where I was, who I was, or what was happening. I only recall forcing
myself to remember the happy moments with my dad, like going to the cinema with him
or being impressed by his colorful tie collection. I felt alienated from my family, from the
world, from everything around me. I felt detached from my body. After the funeral, one
of my father’s best friends called me from Tehran to tell me that he thinks “Siamak’s little
daughter, Azadeh” would have to continue his legacy on earth. I don’t know how, but I
somehow internalized this statement and made it a burden or a responsibility for myself
for the years to come. I kept remembering how frequently my dad used to tell me when I
was a very young child, “You are different, Baba jan. That’s who you are, different from
most.” And, so was he, different from the rest.
35.     At the memorial we had for him in the U.S., I made a speech that somehow
became a rather famous one, covered by media and human rights organizations. In that
speech, I promised that I won’t stop seeking justice, and that I will do so with energy
rather than depression, and that I still believe in hope and in the beautiful future of our
country Iran that will one day be freed from murderers.
36.    That night, when we came home, my mom and family friends sat me down and
told me that, given my powerful speech, I was now responsible for leading my dad’s
legacy and starting a foundation in his name. Indeed, I went on to create such a
foundation, which has become a key part of my career and who I am today.
37.     It was really very difficult to go back to the Netherlands, knowing that my mother
would be alone in Boston and my sister in Toronto. I remained even more worried for my
mom, while trying to also live my life without too much interruption. I tried to do more
than before to be there for her and to protect her from afar. I was and still am scared of
losing her the way I lost my dad. No matter how much I try to do to be there for her, I
feel guilty and worried that she is not well enough and that the wounds of this tragedy are
too great for her to survive.
38.     My dad’s kidnapping, detention, torture, persecution, and house arrest and
isolation impacted my life for a long time, even to this day, in a variety of ways. Having
grown up in his arms, what happened to my dad drastically impacted me—my sense of
security, emotional, and physical health. Though I have fought hard to remain highly
functional, I still have flashbacks about a very difficult past imposed on me by the
Islamic Republic, and one that still has its footprint in my present life. To this day,
sometimes when I am alone at home, I get scared that the Islamic Republic is coming to
stab me, torture me, or kidnap me, even when sitting in Washington, D.C. or London.




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39.      During the early weeks that the Islamic Republic first kidnapped my dad in 2001,
I slept in a walk-in closet in our small apartment in Maryland to feel closer to him, as we
suspected he was being kept in some sort of solitary confinement. To this date, small
spaces remind me of the suffering of my father in small and dirty solitary confinements.
Years later, my body still reacts to a knock on the door, a doorbell, or any kind of siren on
the street, be it a police car or ambulance. I immediately think that I am going to be taken
by authorities and punished for crimes I have not committed. Sometimes when I drive, I
get very nervous as soon as I hear or see a police car behind me, thinking that they are
going to stop me and abduct me. When I see police officers on the street, I unconsciously
begin to walk faster as if I am running away, even when the officer smiles at me.
40.     I am scared of heights and I dislike balconies, as every time I look down, I
imagine my father’s skull shattered on the ground with authorities laughing at his dead
body. I feel guilty all the time that I didn’t do enough for my father. I wonder whether if I
were in Iran, he wouldn’t have been kidnapped or that he wouldn’t have died. For a few
years after my father’s death, I would sometimes find myself in the middle of a very hot
(nearly burning) shower, crying uncontrollably while feeling guilty for not being able to
save my dad. I would remember the stories I had heard about my father’s torture, as some
of the torture methods carried out against him involved scalding water, depriving him of
going to the toilet, and burning his skin with hair removal products.
41.     Moreover, I am now diagnosed with a form of the autoimmune disease Lichen
Planus on my hand in 2013, which later reappeared inside my mouth in 2018-2019,
requiring steroid treatment. When it reappeared the second time in my mouth, my dentist
was very concerned about my living conditions and told me that usually this form of
Lichen Planus appears in people who have undergone a major shock such as having been
subjected to torture and other forms of extreme trauma. It was obvious to me that my
dad’s loss and my constant worries about my mom’s wellbeing were the source of this
health condition and a myriad of others.
42.     I remember that on one of the happiest days of my life, my wedding day, I
suddenly felt angry with my then deceased father. On the day of my wedding in January
2014, after having tried so hard together with my partner to make our marriage happen, I
suddenly felt overwhelmed by anger towards my father. I recall suddenly bursting into
tears, wiping off my makeup, saying to my now husband that I didn’t know how I could
be happy and get married when my dad decayed in detention and under house arrest for
so long and now is in his grave all alone in Iran. That feeling of guilt suddenly turned into
anger towards my dad for having left me alone and not being there to walk me down the
aisle. That day, my Lichen Planus had become so inflamed that I had to wear a flower on
my wrist towards my elbow to hide the big rash for our civil ceremony photos.
43.    I have worked hard over the years to manage my emotional baggage and to learn
about various mediation, mindfulness and breathing exercises that can help me feel
grounded when struggling with sadness about the past, and worried about my mother as
we speak. In the past I have attended counseling sessions and have educated myself on


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the basics of psychology and cognitive behavioral therapy as a way to have scientifically-
proven tools readily available to manage my emotions on a day-to-day basis. Similarly,
over the past decade I have attended numerous creative writing workshops, trying to put
my experiences on paper as a form of therapy. I also consider my daily work on human
rights in Iran a form of therapy that works for me. Additionally, a few years ago, I
discovered that exercising and physical movement help me to stay calm and to feel
grounded. But still, I struggle with feelings of guilt and insecurity, no matter where I live
and what I do.
44.     My father’s situation has not only impacted me emotionally, but also damaged my
relationships with family and friends. Ever since we came to the United States in 2001
and my father’s unfortunate disappearance happened, I received lots of support from new
and old friends. At the same time though, I often felt alienated from them due to the
constant state of emergency my family and I were in for a decade, and later due to the
traumas that these circumstances brought into my life. Given that I value human relations
very much, I have good and close friends from around the world. However, given that
most of my attention has often been focused on my family and the many challenges that
my dad’s conditions presented in all these years, I could never really spend enough time
to build sustained friendships during those years. I have been frequently made fun of,
even if affectionately, by friends for being on the phone too much with my family—first
with my mom and dad (when I could contact him) and later with my mom as I worry for
her so very much, given what she has undergone with my dad’s tragic case. I have been
called weird, even if affectionately or jokingly, for being awake at odd hours no matter
where I have been in the world trying to reach my parents, my mom in particular in
recent years, to make sure they are not depressed, too lonely, or too sad. Even when in
close friendships, the friendships have often become dominated by my family story and
my worries for my dad, and for my mom who experienced much trauma in exile in the
US for what happened to my dad.
45.     Even though at a quick glance I always seemed surrounded by intelligent and kind
friends, colleagues, and classmates, I felt truly lonely for years as I was only really
physically present. Emotionally and mentally, I was either exploring the past or
vicariously living my parents’ lives and trying to empathize with them in their dire
circumstances, both for my dad in Iran and my mom in the U.S.
46.     My mother has undergone tremendous pain due to my father’s persecution. My
father’s kidnapping in 2001 forced my mother to remain in exile as well as in financial,
emotional, and political despair on top of the fact that she was already suffering from a
recently treated high-risk cancer, which was not yet fully in remission. Having always
seen my mother as stoic and strong even in the scariest conditions in Iran, I suddenly saw
her struggling with anxiety, the English language, and even running basic errands. She
had to support me financially while also making sure my older sister in Canada was okay.
On top of it all, she maintained continuous contact with friends, relatives, and lawyers in
Iran to make sure my father had what he needed in those dire circumstances. She often
wanted to return to Iran, as she kept feeling guilty that she was not with my dad. I was


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often terrified that I was going to lose her too since she had already been a political
prisoner a few years before my father’s arrest.
47.      I was a teenager overwhelmed by immigration, a new language, a new school, and
on top of it all, anxiety over my dad’s circumstances while also witnessing my mom’s
struggles. I felt guilty about her situation in exile. I felt bad that I was a burden on her.
Once in high school in the U.S. she caught me as a cleaning lady in a few residents’
homes in our apartment building. I had secretly started working in our building after my
dad’s disappearance, hoping to alleviate her a bit from the financial burden. She didn’t
like it though. She always wanted me to focus on my studies.
48.     I was always worried for my mother. I was worried that she may kill herself under
so much pressure, after having gone through imprisonment and a very advanced cancer
herself. I often had, and still have, nightmares about her emotional well-being, physical
health, financial struggles and her loneliness.
49.     When we were in Iran, my mom was considered the strongest woman around. She
had done the unimaginable, had achieved so much and would work non-stop. She
continued being all that in exile. However, in our private moments I began to see things
in her that I had not really seen before, all of which made me feel that despite all her
strength, she was becoming fragile and vulnerable.
50.     The first time I realized how badly my mother was doing, or rather when I made it
my mission to protect her even if I was a just a teenager and student, was when my dad
was kidnapped in 2001. My mother was still very weak because of her cancer and I didn’t
want her to carry any bags. It was heartbreaking to see her struggle and worry so much
for the fate of my father, and the wellbeing’s of her daughters. I was sometimes scared
that she may not be able to survive this much emotional and financial pressure, all while
struggling with cancer.
51.     My mother had to work very hard and move many times for jobs in order to
support all of us in this family, particularly me. I always felt bad about this, but I also
wanted to listen to her and to my dad, who really wanted me to focus on my studies and
see the world. As a result, I lived a life full of contradiction in my twenties. While living
an academically rigorous and personally full life, seemingly like many other privileged
youths, I often felt sad my parents had to endure and worried that they may not survive it
all, especially my mom whose selfless sacrifices I had witnessed throughout my life.
52.      In all this, our relationship became much more complicated than a traditional
mother-daughter relationship. We were each other’s friends and companions, while also
often collaborating on many initiatives and research projects. My mother suffered so
much supporting us through my education in a country foreign to her at first and having
to work in a language in which she was far from fluent. In all of this, when my dad was
still alive, she had to spend much of her time travelling and advocating for his case to
raise awareness and to try to save him somehow. I honestly think if it wasn’t for my




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family’s rigorous advocacy throughout the years, the authorities would have killed my
father already in 2001 or 2002.
53.      I feel indebted to my mom in ways that overwhelm me every single day of my
life, to this day. I wish I had the maturity of today to try and stop her from sacrificing so
much for me to feel safe despite all that was happening to my father and to her. I
sometimes think maybe I should not have listened to my parents, and instead tried to
work full-time right from the start or find a permanent job right after college rather than
pursue my ambitions at places like Harvard and travel internationally for work. That is
why ever since I started to make a living on my own, I have tried to be there for my mom
in ways that I can. She is 76 years old and has worked as long as she can recall, and still
works every single day of her life. She doesn’t know weekends or nights. She works and
works, just as she did all these years to support us.
54.     The trauma from my father’s horrific ordeal affected my academics over the
years. I consider myself academically accomplished. Studying was always my escape
from family trauma I could not control. It was also my only way of showing that I cared
about them. Studying was what they all wanted me to do, as the youngest and sort of the
“hope” of the future for them. No matter how much I tried to stray away from “Iran
work” and “human rights”, my continuous work with my mom and my preoccupation
with my dad’s circumstances, as well as my wanting to be a part of a country that I felt
forced out of, returned my academic focus to Iran time and time again. Every time I had
to write a thesis, whether for BA, MA, or now PhD, I find myself focusing on something
related to Iran.
55.     When I was a student at the Harvard Kennedy School of Government where I
could have used a rich professional network to advance my career, I often asked my
professors and powerful peers (influential policymakers, NGO executives, UN workers,
journalists) to help save my dad in Iran, rarely asking them for favors for my academic
advancements.
56.     Similarly, my decision to go to the Netherlands to obtain my MBA was fueled by
seeing my mom’s financial struggles and feeling that I had to do something more
practical to support all of us. However, my MBA overlapped with my father’s death,
throwing me back more aggressively than ever into the subject of Iran and human rights
work. After my father’s death, I was expected to have convictions over the country’s
human rights situation and to carry on his legacy. When I returned from Toronto to
Amsterdam, my professor came to the airport and picked me up, telling me that I cannot
stop and that I had to go back to class right away. She helped me drop off my bag, wiped
off my tears, and took me straight from the airport to my class, which was a rigorous two-
week long entrepreneurship module. The professor welcomed me, and I sat down like a
statue, not knowing where I was or why I was there. Everything that was said in those
classes suddenly felt irrelevant to me, and yet because this MBA was an intensive one-
year program, I could not waste time pondering over my grief. We had to write a business
model for that entrepreneurship class and present it in front of venture capital


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       representatives. Not knowing how to throw myself back into the business world within a
       week, I decided to write a business plan for a nonprofit named Siamak Pourzand
       Foundation (SPF) which is now an organization that I have co-founded and run. Today, I
       am very happy to be able to collaborate with and support my mom’s work by way of
       small initiatives at Siamak Pourzand Foundation (SPF). However, having multiple
       professional commitments to make ends meet, I am often overworked and working hard
       to meet deadlines. I didn't manage to take maternity leave for more than two weeks,
       having to attend to my SPF and other work responsibilities nearly right away. All in all,
       no matter how accomplished I have become, I rarely feel secure, always remembering
       how our seemingly stable life in Iran was shattered into pieces at the will of a repressive
       and cruel regime like the Islamic Republic.
       57.     Even within international development and human rights work, I struggled to find
       my place as a result of the trauma from my father’s case. I tried to get a job at various
       internationally-known premier institutions. While receiving compliments as an intern or
       an entry level consultant, I would also get hints from the persons in charge about my
       “political” background that would make me feel unwelcome in these institutions in the
       end. While I was perhaps myself too young to have had a political career, my name
       would trigger inconvenience for the more internationally known human rights and civil
       society organizations that either had Iran as their member state or had hopes to engage the
       various factions of the Iranian government in their advocacy efforts. As a result, what
       could have been a straightforward path for a person like me having graduated from
       Oberlin College and Harvard Kennedy School of Government with good grades, and
       successfully completing various internships and training programs, instead became a
       complex path. I ultimately achieved what I wanted, which was to be considered a
       respected expert in the field of my choice, in my case human rights in Iran and the region.
       However, given that I was never fully accepted into international organizations of my
       choice, I had to get creative and find other ways to advance (e.g. writing and seeking
       speaking opportunities in my personal capacity), while also developing my own
       organization (Siamak Pourzand Foundation) and working with other startups and lesser
       known organizations. This all meant years of low-paid positions and professional
       instability. Since 2014, I have earned an average of $60,000 each year. I am happy and
       proud to be where I am today, even though the money is still tight and I have had to put
       in more effort than those who enjoy the internationally-known brands.
       58.    Overall, my father’s years of detention, torture, and subsequent death have
       devastated me and my family in ways that have affected us all physically, emotionally,
       professionally and financially to this day. Now, we only seek to find justice in my father’s
       name.



I declare and can competently testify under penalty of perjury that the foregoing is true and
correct.


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executed on this _25th _ day of __August__, 2021.




                                                    _           ______
                                                    Azadeh Pourzand




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